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                 EXHIBIT 3
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     Stroz Friedberg, LLC
10

11                                UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                     SAN FRANCISCO DIVISION

14   WAYMO LLC,                                         CASE NO. 3:17-cv-00939-WHA

15             Plaintiff,                               NON-PARTY STROZ FRIEDBERG, LLC’S
                                                        RESPONSES AND OBJECTIONS TO
16   v.                                                 PLAINTIFF WAYMO LLC’S SUBPOENA
                                                        TO PRODUCE DOCUMENTS,
17   UBER TECHNOLOGIES, INC.;                           INFORMATION, OR OBJECTIONS OR
     OTTOMOTTO LLC; OTTO                                TO PERMIT INSPECTION OF PREMISES
18   TRUCKING LLC,                                      IN A CIVIL ACTION

19
               Defendants.
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     NON-PARTY STROZ FRIEDBERG, LLC’S                                CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO,
     LLC’S SUBPOENA
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 1           Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Stroz Friedberg, LLC (“Stroz

 2   Friedberg”), by and through its undersigned counsel, hereby responds and objects to Plaintiff

 3   Waymo, LLC’s (“Waymo”) Subpoena To Produce Documents, Information, Or Objects Or To

 4   Permit Inspection Of Premises In A Civil Action (the “Requests”), dated May 10, 2017.

 5                                          GENERAL OBJECTIONS

 6           The following General Objections apply to and are incorporated into each Specific Objection

 7   set forth below, as if fully set forth therein.

 8           1.      Stroz Friedberg objects to each Request to the extent that it purports to require the

 9   production of documents that are equally available to the parties to the above-captioned litigation, or

10   are publicly available. Stroz Friedberg is a non-party and should not bear the cost of discovery that

11   can be obtained from parties to the litigation or publicly-available sources. Stroz Friedberg reserves

12   the right to seek costs of compliance with each Request that requires Stroz Friedberg to incur

13   “significant expense,” as that term is used in Federal Rule of Civil Procedure 45(d)(2)(B)(ii). As set

14   forth in Ninth Circuit’s decision in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th Cir.

15   2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance with

16   a subpoena, if those costs are significant.”

17           2.      Stroz Friedberg objects to each Request to the extent that it seeks information which

18   is neither relevant nor reasonably calculated to lead to the discovery of admissible evidence.

19           3.      Stroz Friedberg objects to each Request to the extent that it seeks documents or

20   information from Stroz Friedberg that contain sensitive, confidential, competitive, developmental or

21   commercial research information that is of a proprietary nature and/or is protected by other privacy

22   protections provided by applicable laws, rules, and/or regulations.

23           4.      Stroz Friedberg objects to each Request to the extent that it is vague, ambiguous, and

24   unclear, including the use of terms that are not defined and/or not otherwise susceptible to any single

25   meaning.

26           5.      Stroz Friedberg objects to each Request to the extent that it is duplicative.

27           6.      Stroz Friedberg objects to each Request to the extent that it is overly broad or unduly

28   burdensome.
     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
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     SUBPOENA
        Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 4 of 33



 1          7.      Stroz Friedberg objects to each Request to the extent that it fails to comply with the

 2   requirements of Rule 34 of the Federal Rules of Civil Procedure to “describe each item [requested]

 3   with reasonable particularity.”

 4          8.      Stroz Friedberg objects to each Request to the extent that it fails to designate a time or

 5   scope, or designates a time or scope that, in light of the relevant circumstances, is overbroad or is

 6   neither relevant nor reasonably calculated to lead to the discovery of admissible evidence.

 7          9.      Stroz Friedberg objects to each Request to the extent that it seeks documents or

 8   information protected by the attorney-client privilege, the attorney work product doctrine, or any

 9   other applicable privilege or protection, which belong to a third person or to Stroz Friedberg. Any

10   inadvertent production or disclosure of privileged information shall not be deemed to constitute a

11   waiver of any privilege.

12          10.     Stroz Friedberg objects to each Request to the extent that it seeks material that may

13   not be divulged by law.

14          11.     Stroz Friedberg objects to each Request to the extent that it seeks to impose upon

15   Stroz Friedberg an obligation to provide documents not in its possession, custody and/or control, or

16   to create documents that do not currently exist.

17          12.     Stroz Friedberg objects to each Request to the extent that it purports to require Stroz

18   Friedberg to respond on behalf of any person or entity other than Stroz Friedberg. Stroz Friedberg

19   responds to these Requests only on behalf of itself as Stroz Friedberg, and no other person.

20          13.     Stroz Friedberg objects to each Request to the extent that it requires Stroz Friedberg

21   to search for and produce electronically stored documents (including email) from sources that are not

22   reasonably accessible because of undue burden or cost.

23          14.     Stroz Friedberg objects to each Request to the extent that it requires disclosure from

24   which Stroz Friedberg is entitled to seek protection due to annoyance, embarrassment, oppression, or

25   undue burden or expense.

26          15.     Stroz Friedberg objects to each Request to the extent it seeks to impose upon Stroz

27   Friedberg an obligation to provide documents that Stroz Friedberg is prevented from disclosing

28   without the express written permissions of one or more third persons.
     NON-PARTY STROZ FRIEDBERG, LLC’S                                         CASE NO. 3: 17-CV-00939-WHA
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 1          16.     Stroz Friedberg objects to all instructions, definitions, and Requests to the extent that

 2   they contain erroneous factual allegations or conclusions. By responding to these Requests, Stroz

 3   Friedberg does not admit the truth of any such allegations or conclusions.

 4          17.     Stroz Friedberg responds to each Request based on its present knowledge, and Stroz

 5   Friedberg reserves the right to amend, modify, or supplement these Responses and Objections if

 6   Stroz Friedberg learns of new information.

 7          18.     Stroz Friedberg objects to the Instructions and Definitions to the the extent that they

 8   render the Requests overbroad and unduly burdensome and would require Stroz Friedberg to

 9   conduct an unreasonably broad search to find responsive documents on the grounds that it seeks

10   documents or information that are not relevant or that exceed the scope of permissible discovery

11   because they are not necessary to prosecute or defend the case at bar, considering the importance of

12   the issues at stake in the case, the amount in controversy, the parties’ relative access to relevant

13   information, the parties’ resources, the importance of the discovery in resolving the issues, and

14   disproportionate burden or expense of responding to the Request as stated. Stroz Friedberg further

15   objects to each Instruction, Definition, and Request to the extent that they purport to impose

16   obligations on Stroz Friedberg greater than those required by the Federal Rules of Civil Procedure or

17   the Civil Local Rules of the United States District Court for the Northern District of California.

18   Stroz Friedberg will comply with the obligations required by these Rules and Local Rules. Stroz

19   Friedberg further objects to the Instructions to the extent that they place unduly burdensome and

20   costly electronic file formatting requirements on Stroz Friedberg’s production efforts, or to the

21   extent that they purport to require the production of original documents.

22          19.     To the extent that Stroz Friedberg asserts a specific objection to a particular Request,

23   Stroz Friedberg does not thereby waive these General Objections. To the extent that Stroz Friedberg

24   objects to a particular Request but proceeds to respond to said Request in whole or in part, Stroz

25   Friedberg does not thereby waive any objection to that Request. Stroz Friedberg reserves its own

26   rights as well as any rights of any third person who may object to the use of any documents or

27   information produced in response to any Request as evidence.

28
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       3
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 1                                        SPECIFIC OBJECTIONS

 2   REQUEST FOR PRODUCTION NO. 1:

 3          All agreements between YOU and any DEFENDANT.

 4   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

 5          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 6   Stroz Friedberg is prevented from disclosing without the express written permission of the

 7   defendants in the above-captioned action (“Defendants”) or any other relevant third persons (“Third

 8   Persons”). Stroz Friedberg further objects to this Request to the extent it seeks documents equally

 9   available from parties to the above-captioned litigation. Stroz Friedberg further objects to this

10   Request to the extent that it is overly broad, unduly burdensome and not reasonably calculated to the

11   lead to the discovery of admissible evidence, including to the extent that it seeks “all” agreements

12   which do not relate to any of the issues, claims, and defenses presented in the above-captioned

13   action. Stroz Friedberg further objects to this Request to the extent that it seeks disclosure of

14   information protected by the attorney-client privilege, the attorney work product doctrine, or any

15   other applicable privilege or protection belonging to Defendants or Third Persons. Stroz Friedberg

16   further objects to this Request as being duplicative of Request Nos. 2, 3, 4, and 5. Subject to, and

17   without waiving these Specific and General Objections, and only to the extent it obtains the express

18   written permission of Defendants or Third Persons to do so, Stroz Friedberg will produce non-

19   privileged documents responsive to this Request that are not the subject of an assertion by

20   Defendants or Third Persons as being protected by the attorney-client privilege, work product

21   doctrine, or any other applicable privilege or protection.

22   REQUEST FOR PRODUCTION NO. 2:

23          All agreements between YOU and LEVANDOWSKI.

24   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

25          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

26   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

27   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

28   equally available from parties to the above-captioned litigation or Third Persons. Stroz Friedberg
     NON-PARTY STROZ FRIEDBERG, LLC’S                                      CASE NO. 3: 17-CV-00939-WHA
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 1   further objects to this Request to the extent that it is overly broad, unduly burdensome and not

 2   reasonably calculated to the lead to the discovery of admissible evidence, including to the extent that

 3   it seeks “all” agreements which do not relate to any of the issues, claims, and defenses presented in

 4   the above-captioned action. Stroz Friedberg further objects to this Request to the extent that it seeks

 5   disclosure of information protected by the attorney-client privilege, the attorney work product

 6   doctrine, or any other applicable privilege or protection belonging to Defendants or Third Persons.

 7   Stroz Friedberg further objects to this Request as being duplicative of Request Nos. 1, 3, 4, and 5.

 8   Subject to, and without waiving these Specific and General Objections, and only to the extent it

 9   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

10   produce non-privileged documents responsive to this Request that are not the subject of an assertion

11   by Defendants or Third Persons as being protected by the attorney-client privilege, work product

12   doctrine, or any other applicable privilege or protection.

13   REQUEST FOR PRODUCTION NO. 3:

14          All agreements between YOU and any PERSON REGARDING LEVANDOWSKI, Lior

15   Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO TRUCKING,

16   OTTOMOTTO, or the MISAPPROPRIATED MATERIALS.

17   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

18          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

19   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

20   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

21   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

22   this Request to the extent that it seeks disclosure of information protected by the attorney-client

23   privilege, the attorney work product doctrine, or any other applicable privilege or protection

24   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

25   duplicative of Request Nos. 1, 2, 4, and 5. Subject to, and without waiving these Specific and

26   General Objections, and only to the extent it obtains the express written permission of Defendants or

27   Third Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
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 1   Request that are not the subject of an assertion by Defendants or Third Persons as being protected by

 2   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

 3   REQUEST FOR PRODUCTION NO. 4:

 4          The “agreement with Donahue, whereby Stroz agreed to keep confidential all information learned

 5   from Mr. Levandowski during the course of its investigation unless Mr. Levandowski consented to

 6   sharing that information with any person” (referenced in paragraph 7 of the May 8, 2017 Declaration of

 7   Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto

 8   as Exhibit A).

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

10          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

11   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

12   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

13   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

14   this Request to the extent that it seeks disclosure of information protected by the attorney-client

15   privilege, the attorney work product doctrine, or any other applicable privilege or protection

16   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

17   duplicative of Request Nos. 1, 2, 3, and 5. Subject to, and without waiving these Specific and

18   General Objections, and only to the extent it obtains the express written permission of Defendants or

19   Third Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this

20   Request that are not the subject of an assertion by Defendants or Third persons as being protected by

21   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

22   REQUEST FOR PRODUCTION NO. 5:

23          The “engagement letter” through which “Stroz was jointly engaged by Morrison & Foerster

24   (‘MoFo’), on behalf of its client Uber Technologies LLC (‘Uber’), and O’Melveny & Meyers LLP

25   (‘OMM’), on behalf of its client Ottomotto LLC (‘Ottomotto’)” (referenced in paragraph 3 of the May 8,

26   2017 Declaration of Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to

27   Compel, attached hereto as Exhibit A), and all attachments, exhibits, appendices, and amendments to the

28   engagement letter.
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
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 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

 2          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 3   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 4   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 5   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

 6   this Request to the extent that it seeks disclosure of information protected by the attorney-client

 7   privilege, the attorney work product doctrine, or any other applicable privilege or protection

 8   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

 9   duplicative of Request Nos. 1, 2, 3, and 4. Subject to, and without waiving these Specific and

10   General Objections, and only to the extent it obtains the express written permission of Defendants or

11   Third Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this

12   Request that are not the subject of an assertion by Defendants or Third Persons as being protected by

13   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

14   REQUEST FOR PRODUCTION NO. 6:

15          The August 5, 2016 due diligence report (referenced in the May 8, 2017 Declaration of Eric M.

16   Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as

17   Exhibit A), including all exhibits, attachments, and appendices thereto.

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

19          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

20   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

21   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

22   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

23   this Request to the extent that it seeks disclosure of information protected by the attorney-client

24   privilege, the attorney work product doctrine, or any other applicable privilege or protection

25   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

26   duplicative of Request Nos. 7 and 8. Subject to, and without waiving these Specific and General

27   Objections, and only to the extent it obtains the express written permission of Defendants or Third

28   Personsto do so, Stroz Friedberg will produce non-privileged documents responsive to this Request
     NON-PARTY STROZ FRIEDBERG, LLC’S                                           CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S         7
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 1   that are not the subject of an assertion by Defendants or Third Persons as being protected by the

 2   attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

 3   REQUEST FOR PRODUCTION NO. 7:

 4          All reports or analyses prepared by YOU for any DEFENDANT REGARDING

 5   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

 6   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or   the   MISAPPROPRIATED

 7   MATERIALS.

 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

 9          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

10   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

11   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

12   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

13   this Request to the extent that it seeks disclosure of information protected by the attorney-client

14   privilege, the attorney work product doctrine, or any other applicable privilege or protection

15   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

16   duplicative of Request Nos. 6 and 8. Subject to, and without waiving these Specific and General

17   Objections, and only to the extent it obtains the express written permission of Defendants or Third

18   Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this Request

19   that are not the subject of an assertion by Defendants or Third Persons as being protected by the

20   attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

21   REQUEST FOR PRODUCTION NO. 8:

22          All reports or analyses prepared by YOU for LEVANDOWSKI.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

24          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

25   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

26   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

27   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

28   this Request to the extent that it seeks disclosure of information protected by the attorney-client
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S        8
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 1   privilege, the attorney work product doctrine, or any other applicable privilege or protection

 2   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

 3   duplicative of Request Nos. 8 and 9. Subject to, and without waiving these Specific and General

 4   Objections, and only to the extent it obtains the express written permission of Defendants or Third

 5   Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this Request

 6   that are not the subject of an assertion by Defendants or Third Persons as being protected by the

 7   attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

 8   REQUEST FOR PRODUCTION NO. 9:

 9          All DOCUMENTS provided to YOU by DEFENDANTS, LEVANDOWSKI, Lior Ron, or the

10   “three other employees who participated in the Stroz Investigation review process” (referenced in

11   paragraph 11 of the May 8, 2017 Declaration of John F. Gardner in Support of Defendants’ Opposition to

12   Waymo’s Motion to Compel Production of Withheld Documents, attached hereto as Exhibit B),

13   REGARDING LEVANDOWSKI¸ Lior Ron, OTTO TRUCKING, OTTOMOTTO, GOOGLE,

14   WAYMO, or the MISAPPROPRIATED MATERIALS.

15   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

16          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

17   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

18   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

19   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

20   this Request to the extent that it seeks disclosure of information protected by the attorney-client

21   privilege, the attorney work product doctrine, the constitutional or statutory right of privacy, or any

22   other applicable privilege or protection belonging to Defendants or Third Persons. Stroz Friedberg

23   further objects to this Request as being duplicative of Request Nos. 10, 12 to 28, and 30. Subject to,

24   and without waiving these Specific and General Objections, and only to the extent it obtains the

25   express written permission of Defendants or Third Persons to do so, Stroz Friedberg will produce

26   non-privileged documents responsive to this Request that are not the subject of an assertion by

27   Defendants or Third Persons as being protected by the attorney-client privilege, work product

28   doctrine, or any other applicable privilege or protection.
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S        9
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 1   REQUEST FOR PRODUCTION NO. 10:

 2          DOCUMENTS sufficient to show the identity of the “three other employees who participated in

 3   the Stroz Investigation review process” (referenced in paragraph 11 of the May 8, 2017 Declaration of

 4   John F. Gardner in Support of Defendants’ Opposition to Waymo’s Motion to Compel Production of

 5   Withheld Documents, attached hereto as Exhibit B).

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

 7          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 8   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 9   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

10   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

11   this Request to the extent that it seeks disclosure of information protected by the attorney-client

12   privilege, the attorney work product doctrine, or any other applicable privilege or protection

13   belonging to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being

14   duplicative of Request Nos. 9, 12 to 28, and 30. Subject to, and without waiving these Specific and

15   General Objections, and only to the extent it obtains the express written permission of Defendants or

16   Third Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this

17   Request that are not the subject of an assertion by Defendants or Third Persons as being protected by

18   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

19   REQUEST FOR PRODUCTION NO. 11:

20          All DOCUMENTS and COMMUNICATIONS REGARDING the purported “joint defense and

21   common interest agreement” (referenced in paragraph 5 of the May 8, 2017 Declaration of Eric M.

22   Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as

23   Exhibit A).

24   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

25          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

26   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

27   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

28   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
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 1   this Request to the extent that it seeks disclosure of information protected by the attorney-client

 2   privilege, the attorney work product doctrine, or any other applicable privilege or protection

 3   belonging to Stroz Friedberg, Defendants, or Third Persons. Subject to, and without waiving these

 4   Specific and General Objections, and only to the extent it obtains the express written permission of

 5   Defendants or Third Persons to do so, Stroz Friedberg will produce non-privileged documents

 6   responsive to this Request that are not the subject of an assertion by Stroz Friedberg, Defendants, or

 7   Third Persons as being protected by the attorney-client privilege, work product doctrine, or any other

 8   applicable privilege or protection.

 9   REQUEST FOR PRODUCTION NO. 12:

10          The forensic data underlying the “forensic analysis” YOU did in connection with the August 5,

11   2016 due diligence report (referenced in Entry Nos. 7, 8, 9, 10 and 17 of Defendants’ Privilege Log

12   Associated with March 31, 2017 Production of Documents, attached hereto as Exhibit C).

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

14          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

15   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

16   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

17   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

18   this Request to the extent that it is overly broad, unduly burdensome and not reasonably calculated to

19   the lead to the discovery of admissible evidence, including to the extent that it seeks all forensic data

20   which do not relate to any of the issues, claims, and defenses presented in the above-captioned

21   action. Stroz Friedberg further objects to this Request to the extent that it seeks disclosure of

22   information protected by the attorney-client privilege, the attorney work product doctrine, the

23   constitutional or statutory right of privacy, or any other applicable privilege or protection belonging

24   to Defendants or Third Persons. Stroz Friedberg further objects to this Request as being duplicative

25   of Request Nos. 9. 10, 13 to 28, and 30. Subject to, and without waiving these Specific and General

26   Objections, and only to the extent it obtains the express written permission of Defendants or Third

27   Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this Request

28
     NON-PARTY STROZ FRIEDBERG, LLC’S                                         CASE NO. 3: 17-CV-00939-WHA
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 1   that are not the subject of an assertion by Defendants or Third Persons as being protected by the

 2   attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

 3   REQUEST FOR PRODUCTION NO. 13:

 4          All DOCUMENTS and COMMUNICATIONS REGARDING the “forensic analysis” YOU did

 5   in connection with the August 5, 2016 due diligence report (referenced in Entry Nos. 7, 8, 9, 10 and 17 of

 6   Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents, attached hereto as

 7   Exhibit C).

 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

 9          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

10   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

11   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

12   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

13   this Request to the extent that it is overly broad, unduly burdensome and not reasonably calculated to

14   the lead to the discovery of admissible evidence, including to the extent that it seeks “all” documents

15   and communications which do not relate to any of the issues, claims, and defenses presented in the

16   above-captioned action. Stroz Friedberg further objects to this Request as overly broad and unduly

17   burdensome because it seeks “all” documents and communications, which will impose “significant

18   expense” on Stroz Friedberg to comply with, as that term is used in Rule 45(d)(2)(B)(ii). As the

19   Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th Cir. 2013), Rule

20   45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance with a subpoena,

21   if those costs are significant.” Stroz Friedberg reserves the right to seek significant compliance costs

22   incurred in having to respond to this Request, to the extent applicable. Stroz Friedberg further

23   objects to this Request to the extent that it seeks disclosure of information protected by the attorney-

24   client privilege, the attorney work product doctrine, or any other applicable privilege or protection

25   belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg further objects to this

26   Request as being duplicative of Request No. 9, 10, 12, 14 to 28, and 30. Subject to, and without

27   waiving these Specific and General Objections, and only to the extent it obtains the express written

28   permission of Defendants or Third Persons to do so, Stroz Friedberg will produce non-privileged
     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S        12
     SUBPOENA
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 1   documents responsive to this Request that are not the subject of an assertion by Stroz Friedberg,

 2   Defendants, or Third Persons as being protected by the attorney-client privilege, work product

 3   doctrine, or any other applicable privilege or protection.

 4   REQUEST FOR PRODUCTION NO. 14:

 5          All DOCUMENTS and COMMUNICATIONS REGARDING the “directives from MoFo and

 6   OMM regarding what topics to investigate and how Stroz should investigate those topics” that “MoFo

 7   provided … to Stroz” (referenced in paragraph 4 of the May 8, 2017 Declaration of Eric M. Friedberg in

 8   Support of Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit A).

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

10          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

11   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

12   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

13   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

14   this Request as overly broad and unduly burdensome because it seeks “all” documents and

15   communications, which will impose “significant expense” on Stroz Friedberg to comply with, as that

16   term is used in Rule 45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738

17   F.3d 1178, 1181 (9th Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-

18   party’s cost of compliance with a subpoena, if those costs are significant.” Stroz Friedberg reserves

19   the right to seek significant compliance costs incurred in having to respond to this Request, to the

20   extent applicable.   Stroz Friedberg further objects to this Request to the extent that it seeks

21   disclosure of information protected by the attorney-client privilege, the attorney work product

22   doctrine, or any other applicable privilege or protection belonging to Stroz Friedberg, Defendants, or

23   Third Persons. Stroz Friedberg further objects to this Request as being duplicative of Request No. 9,

24   10, 12, 13, 15 to 28, and 30. Subject to, and without waiving these Specific and General Objections,

25   and only to the extent it obtains the express written permission of Defendants or Third Persons to do

26   so, Stroz Friedberg will produce non-privileged documents responsive to this Request that are not

27   the subject of an assertion by Stroz Friedberg, Defendants, or Third Persons as being protected by

28   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       13
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 15:

 2          All   COMMUNICATIONS            between      YOU   and     any    DEFENDANT        REGARDING

 3   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

 4   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,       WAYMO,        or   the   MISAPPROPRIATED

 5   MATERIALS.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

 7          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 8   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 9   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

10   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

11   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

12   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

13   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

14   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

15   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

16   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

17   Friedberg further objects to this Request to the extent that it seeks disclosure of information

18   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

19   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

20   further objects to this Request as being duplicative of Request Nos. 9, 10, 12, 13, 14, and 16 to 28.

21   Subject to, and without waiving these Specific and General Objections, and only to the extent it

22   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

23   produce non-privileged documents responsive to this Request that are not the subject of an assertion

24   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

25   work product doctrine, or any other applicable privilege or protection.

26   REQUEST FOR PRODUCTION NO. 16:

27          All    COMMUNICATIONS            between     YOU     and     LEVANDOWSKI           REGARDING

28   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),
     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       14
     SUBPOENA
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 1   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or    the   MISAPPROPRIATED

 2   MATERIALS.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

 4          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 5   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 6   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 7   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

 8   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

 9   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

10   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

11   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

12   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

13   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

14   Friedberg further objects to this Request to the extent that it seeks disclosure of information

15   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

16   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

17   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 15, and 17 to 28.

18   Subject to, and without waiving these Specific and General Objections, and only to the extent it

19   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

20   produce non-privileged documents responsive to this Request that are not the subject of an assertion

21   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

22   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       15
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 17:

 2          All COMMUNICATIONS between YOU and Lior Ron REGARDING LEVANDOWSKI, Lior

 3   Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO TRUCKING,

 4   OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 16, and 18 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       16
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 18:

 2          All COMMUNICATIONS between YOU and MORRISON REGARDING LEVANDOWSKI,

 3   Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO

 4   TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 17, and 19 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       17
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 19:

 2          All COMMUNICATIONS between YOU and O’MELVENY REGARDING LEVANDOWSKI,

 3   Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO

 4   TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 18, and 20 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       18
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 20:

 2          All COMMUNICATIONS between YOU and DONAHUE REGARDING LEVANDOWSKI,

 3   Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO

 4   TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 19, and 21 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       19
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 21:

 2          All COMMUNICATIONS between YOU and LEVINE REGARDING LEVANDOWSKI, Lior

 3   Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO TRUCKING,

 4   OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 20, and 22 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

25   REQUEST FOR PRODUCTION NO. 22:

26          All COMMUNICATIONS between YOU and Fenwick & West LLP and/or Ted Wang

27   REGARDING LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       20
     SUBPOENA
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 1   discussed   therein),   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,        WAYMO,       or      the

 2   MISAPPROPRIATED MATERIALS.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

 4          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 5   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 6   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 7   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

 8   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

 9   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

10   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

11   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

12   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

13   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

14   Friedberg further objects to this Request to the extent that it seeks disclosure of information

15   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

16   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

17   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 21, and 23 to 28.

18   Subject to, and without waiving these Specific and General Objections, and only to the extent it

19   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

20   produce non-privileged documents responsive to this Request that are not the subject of an assertion

21   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

22   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       21
     SUBPOENA
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 1   REQUEST FOR PRODUCTION NO. 23:

 2          All   COMMUNICATIONS            between      YOU   and    Ognen      Stojanovski   REGARDING

 3   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

 4   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,       WAYMO,      or    the   MISAPPROPRIATED

 5   MATERIALS.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

 7          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 8   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 9   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

10   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

11   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

12   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

13   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

14   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

15   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

16   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

17   Friedberg further objects to this Request to the extent that it seeks disclosure of information

18   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

19   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

20   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 22, and 24 to 28.

21   Subject to, and without waiving these Specific and General Objections, and only to the extent it

22   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

23   produce non-privileged documents responsive to this Request that are not the subject of an assertion

24   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

25   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       22
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 1    REQUEST FOR PRODUCTION NO. 24:

 2          All COMMUNICATIONS between YOU and Doug Mandell REGARDING LEVANDOWSKI,

 3   Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO

 4   TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

11   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

12   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

13   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

14   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

15   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

16   Friedberg further objects to this Request to the extent that it seeks disclosure of information

17   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

18   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

19   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 23, and 25 to 28.

20   Subject to, and without waiving these Specific and General Objections, and only to the extent it

21   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

22   produce non-privileged documents responsive to this Request that are not the subject of an assertion

23   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

24   work product doctrine, or any other applicable privilege or protection.

25   REQUEST FOR PRODUCTION NO. 25:

26          All    COMMUNICATIONS            between     YOU     and   Maureen      Dorney     REGARDING

27   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       23
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 26 of 33



 1   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or    the   MISAPPROPRIATED

 2   MATERIALS.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

 4          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 5   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 6   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 7   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

 8   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

 9   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

10   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

11   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

12   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

13   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

14   Friedberg further objects to this Request to the extent that it seeks disclosure of information

15   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

16   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

17   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 24, and 26 to 28.

18   Subject to, and without waiving these Specific and General Objections, and only to the extent it

19   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

20   produce non-privileged documents responsive to this Request that are not the subject of an assertion

21   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

22   work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       24
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 27 of 33



 1   REQUEST FOR PRODUCTION NO. 26:

 2          All COMMUNICATIONS between YOU and GCA Law Partners LLP REGARDING

 3   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

 4   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or    the   MISAPPROPRIATED

 5   MATERIALS.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

 7          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 8   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 9   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

10   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

11   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

12   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

13   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

14   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

15   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

16   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

17   Friedberg further objects to this Request to the extent that it seeks disclosure of information

18   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

19   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

20   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 25, 27, and 28.

21   Subject to, and without waiving these Specific and General Objections, and only to the extent it

22   obtains the express written permission of Defendants or Third Persons to do so, Stroz Friedberg will

23   produce non-privileged documents responsive to this Request that are not the subject of an assertion

24   by Stroz Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege,

25   work product doctrine, or any other applicable privilege or protection.

26   REQUEST FOR PRODUCTION NO. 27:

27          All COMMUNICATIONS between YOU and TYTO and/or ODIN WAVE, REGARDING

28   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),
     NON-PARTY STROZ FRIEDBERG, LLC’S                                          CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       25
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 28 of 33



 1   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or   the   MISAPPROPRIATED

 2   MATERIALS.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

 4          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 5   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 6   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 7   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

 8   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

 9   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

10   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

11   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

12   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

13   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

14   Friedberg further objects to this Request to the extent that it seeks disclosure of information

15   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

16   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

17   further objects to this Request as being duplicative of Request Nos. 9, 10, 12 to 26, and 28. Subject

18   to, and without waiving these Specific and General Objections, and only to the extent it obtains the

19   express written permission of Defendants or Third Persons to do so, Stroz Friedberg will produce

20   non-privileged documents responsive to this Request that are not the subject of an assertion by Stroz

21   Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege, work

22   product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       26
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 29 of 33



 1   REQUEST FOR PRODUCTION NO. 28:

 2          All COMMUNICATIONS between YOU, on the one hand, and POUCH HOLDINGS,

 3   DOGWOOD LEASING, and/or APPARATE INTERNATIONAL, on the other, REGARDING

 4   LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein),

 5   OTTO     TRUCKING,       OTTOMOTTO,         GOOGLE,      WAYMO,       or   the   MISAPPROPRIATED

 6   MATERIALS.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

 8          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 9   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

10   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

11   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

12   this Request as overly broad and unduly burdensome because it seeks “all” communications, which

13   will impose “significant expense” on Stroz Friedberg to comply with, as that term is used in Rule

14   45(d)(2)(B)(ii). As the Ninth Circuit held in Legal Voice v. Stormans Inc., 738 F.3d 1178, 1181 (9th

15   Cir. 2013), Rule 45(d)(2)(B)(ii) “requires the district court to shift a non-party’s cost of compliance

16   with a subpoena, if those costs are significant.” Stroz Friedberg reserves the right to seek significant

17   compliance costs incurred in having to respond to this Request, to the extent applicable. Stroz

18   Friedberg further objects to this Request to the extent that it seeks disclosure of information

19   protected by the attorney-client privilege, the attorney work product doctrine, or any other applicable

20   privilege or protection belonging to Stroz Friedberg, Defendants, or Third Persons. Stroz Friedberg

21   further objects to this Request as being duplicative of Request Nos. 9, 10, and 12 to 27. Subject to,

22   and without waiving these Specific and General Objections, and only to the extent it obtains the

23   express written permission of Defendants or Third Persons to do so, Stroz Friedberg will produce

24   non-privileged documents responsive to this Request that are not the subject of an assertion by Stroz

25   Friedberg, Defendants, or Third Persons as being protected by the attorney-client privilege, work

26   product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       27
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 30 of 33



 1   REQUEST FOR PRODUCTION NO. 29:

 2          All invoices submitted to any DEFENDANT in connection with the March 4 Engagement Letter

 3   (Exhibit 3 to the May 8, 2017 Declaration of Eric A. Tate in Support of Defendants’ Opposition to

 4   Waymo’s Motion to Compel, attached hereto as Exhibit D).

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

 6          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

 7   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

 8   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

 9   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

10   this Request to the extent that it seeks disclosure of information protected by the attorney-client

11   privilege, the attorney work product doctrine, or any other applicable privilege or protection

12   belonging to Defendants or Third Persons. Subject to, and without waiving these Specific and

13   General Objections, and only to the extent it obtains the express written permission of Defendants or

14   Third Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this

15   Request that are not the subject of an assertion by Defendants or Third Persons as being protected by

16   the attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

17   REQUEST FOR PRODUCTION NO. 30:

18          Any “original materials provided by Client or Uber or Ottomotto, to Stroz Friedberg” (referenced

19   in Exhibit 3 to the May 8, 2017 Declaration of Eric A. Tate in Support of Defendants’ Opposition to

20   Waymo’s Motion to Compel, attached hereto as Exhibit D).

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

22          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

23   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

24   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

25   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

26   this Request to the extent that it is overly broad, unduly burdensome and not reasonably calculated to

27   the lead to the discovery of admissible evidence, including to the extent that it seeks “[a]ny”

28   materials which do not relate to any of the issues, claims, and defenses presented in the above-
     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       28
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 31 of 33



 1   captioned action. Stroz Friedberg further objects to this Request to the extent that it seeks disclosure

 2   of information protected by the attorney-client privilege, the attorney work product doctrine, the

 3   constitutional or statutory right to privacy, or any other applicable privilege or protection belonging

 4   Defendants or Third Persons. Stroz Friedberg further objects to this Request as being duplicative of

 5   Request Nos. 9, 10, 12, 13, and 14. Subject to, and without waiving these Specific and General

 6   Objections, and only to the extent it obtains the express written permission of Defendants or Third

 7   Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this Request

 8   that are not the subject of an assertion by Defendants as being protected by the attorney-client

 9   privilege, work product doctrine, or any other applicable privilege or protection.

10   REQUEST FOR PRODUCTION NO. 31:

11          DOCUMENTS sufficient to show any “original materials provided by Client or Uber or

12   Ottomotto, to Stroz Friedberg” that were destroyed by YOU pursuant to the “Return of Client Materials”

13   provision on page 4 of the March 4 Engagement Letter (Exhibit 3 to the May 8, 2017 Declaration of Eric

14   A. Tate in Support of Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit

15   D).

16   RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

17          Stroz Friedberg objects to this Request to the extent that it seeks documents and information

18   Stroz Friedberg is prevented from disclosing without the express written permission of Defendants

19   or Third Persons. Stroz Friedberg further objects to this Request to the extent it seeks documents

20   equally available from parties to the above-captioned litigation. Stroz Friedberg further objects to

21   this Request to the extent that it seeks disclosure of information protected by the attorney-client

22   privilege, the attorney work product doctrine, or any other applicable privilege or protection

23   belonging Defendants or Third Persons. Subject to, and without waiving these Specific and General

24   Objections, and only to the extent it obtains the express written permission of Defendants or Third

25   Persons to do so, Stroz Friedberg will produce non-privileged documents responsive to this Request

26   that are not the subject of an assertion by Defendants or Third Persons as being protected by the

27   attorney-client privilege, work product doctrine, or any other applicable privilege or protection.

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                        CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S       29
     SUBPOENA
       Case 3:17-cv-00939-WHA Document 570-3 Filed 06/08/17 Page 32 of 33



 1   DATED: June 7, 2017                         KIRKLAND & ELLIS LLP
 2

 3                                               /s/ Robert B. Ellis, P.C.
                                                 Robert B. Ellis, P.C. (pro hac vice
 4                                               forthcoming)
                                                 KIRKLAND & ELLIS LLP
 5                                               300 North LaSalle Street
                                                 Chicago, Illinois 60654
 6                                               Telephone: (312) 862-2000
                                                 Facsimile: (312) 862-2200
 7                                               Email: rellis@kirkland.com

 8                                                   Kevin K. Chang (SBN 292271)
                                                     KIRKLAND & ELLIS LLP
 9                                                   555 California Street
                                                     San Francisco, California 94104
10                                                   Telephone: (415) 439-1400
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11                                                   Email: kevin.chang@kirkland.com

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     NON-PARTY STROZ FRIEDBERG, LLC’S                                   CASE NO. 3: 17-CV-00939-WHA
     RESPONSES AND OBJECTIONS TO WAYMO, LLC’S   30
     SUBPOENA
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 1                                     CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that on June 7, 2017, I caused a true and correct copy of the foregoing

 3   NON-PARTY STROZ FRIEDBERG, LLC’S RESPONSES TO PLAINTIFF WAYMO, LLC’S

 4   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT

 5   INSPECTION OF PREMISES IN A CIVIL ACTION to be served via mail and electronic mail

 6   upon:

 7           Charles K. Verhoeven
 8           David A. Perlson
             50 California Street, 22nd Floor
 9           San Francisco, CA 94111
             qewaymo@quinnemanuel.com
10
                                                        /s/ Kevin K. Chang
11                                                      Kevin K. Chang
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     CERTIFICATE OF SERVICE                                                  CASE NO. 3: 17-CV-00939-WHA
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